Case 2:04-cv-02456-BBD-dkv Document 23 Filed 05/23/05 Page 1 of 3 Page|D 32

FH'EU :f-`£'y' /@
IN THE UNITED STATES DISTRICT COURT lt n gm 'j-C‘.
FOR THE WESTERN DISTRICT OF TENNESSEE WESTERN DFV‘ISTGM>’> P,} l
,, .“, F__ :

 

 

 

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sHAN ARNOLD, )
)
Plaimirf, )
)
Vs. ) 01»{ CV-O2456-BBD-dkv
) 553 3 513 '?':
YoUNG woMEN’s cHRrsrrAN ) § §§
AssoclATIoN oF MEMPHIS, TENNESSEE ) '1< :
and MARY COLE NICHOLS, ) §§ j~“-’
5 la §§
Defendants. ) : §
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'~`:) .'»\
r\_) >'

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

Come now the parties, by and through their counsel of record, and announce to the Court
that the matters and things in controversy between the parties have been settled and compromised

and that the defendants, Young Women’s Christian Association of Memphis, Tennessee and

Mary Cole Nichols, should be dismissed, With prejudice

IT IS, THER_EF()RE, GRDEP_ED, ADJUDGED AND DECP£ED tha. the plaintiffs
cause be, and the same hereby is, dismissed With prejudice as to the defendants, Young Women’s
Christian Association of Memphis, Tennessee and Mary Cole Nichols, and that the costs of this

cause shall be, and the same hereby are adjudged against the defendants, for which let execution

issue, if necessary

Th!s document entered on the docket heat in compliance
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wlrh Ru|e 58 and/or 79{a) FHCP on

 

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DA

APPROVED:

LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC

BY: //;w_%’\/
]az>{m ns, #21371

25 Cou Avenue, Second Floor
Mernphis, Tennessee 38103
(901) 527-0214

Max Ositrow (X 33 Lj
5118 Park Avenue, Suite 600
Mernphis, TN 38117

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02456 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed

ESSEE

 

George H. Rieger

LEITNER WILLIAMS DOOLEY & NAPOLITAN PLLC

414 Union St.
Ste. 1900
Nashville, TN 37219--230

J ay Marshall Atkins

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

MaX L. OstroW

WEISSMAN OSTROW & MITCHELL
5118 Park Ave.

Ste. 600

1\/lemphis7 TN 38117

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

